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                       UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA

 BEYOND BLOND PRODUCTIONS,                  2:20−cv−05581−DSF−GJS
 LLC
                  Plaintiff(s),             STANDING ORDER
                                            FOR CASES ASSIGNED TO
         v.                                 JUDGE DALE S. FISCHER
 EDWARD HELDMAN III, et al.
                 Defendant(s).




         READ THIS ORDER CAREFULLY. IT CONTROLS THIS CASE AND
            DIFFERS IN SOME RESPECTS FROM THE LOCAL RULES.
       Counsel for plaintiff shall immediately serve this order on all parties, including
    any new parties to the action. If this case was removed from state court, the
    defendant that removed the case shall serve this Order on all other parties.
       Plaintiffs who have electronically filed a complaint are ordered to provide a
    paper copy of the conformed complaint to Judge Fischer’s mailbox on the Fourth
    Floor of the First Street Courthouse.

      Counsel must advise the Court immediately if the case or any pending
    matter has been resolved.
    1.        Presence of Lead Counsel

        Lead trial counsel shall attend any proceeding set by this Court, including
    all scheduling, pretrial, and settlement conferences. Only ONE attorney for a
    party may be designated as lead trial counsel unless otherwise permitted by the
    Court. Unless lead counsel’s absence is excused by the Court for good cause in
    advance of the hearing, or is due to an emergency that prevented prior notice,
    the Court reserves the right to designate the attorney handling such proceeding
    as lead counsel for all purposes. Failure of lead counsel to appear will be
    grounds for sanctions.


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    2.     Discovery
       All discovery matters are referred to the assigned magistrate judge. All
    discovery documents must include the words “DISCOVERY MATTER” in the
    caption to ensure proper routing. Counsel should not deliver Chambers copies of
    these documents to Judge Fischer.
       Proposed protective orders pertaining to discovery must be submitted to the
    assigned magistrate judge. Proposed protective orders should not purport to allow,
    without further order of Judge Fischer, the filing under seal of pleadings or
    documents filed in connection with a dispositive motion (including a class
    certification motion) or trial before Judge Fischer. The existence of a protective
    order does not alone justify the filing of pleadings or other documents under seal, in
    whole or in part.
    3.     E-Filing Requirements
           a.     Proposed Orders
       Proposed orders must be on pleading paper and should not contain attorney
    names, addresses, etc. on the caption page, should not contain a footer with the
    document name or other information, and should not contain a watermark or
    designation of the firm name, etc. in the margin. Documents that do not meet this
    requirement may be stricken.
           b.     Mandatory Paper Chambers Copies
       Documents will not be considered until paper Chambers copies are
    submitted, so paper Chambers copies of all documents for which priority
    processing is requested should be submitted on the same day as the filing. Paper
    Chambers copies should not require the signature of the recipient.

       All exhibits must be separated by a tab divider on the right or bottom of the
    document. If documentary evidence in support of or in opposition to a motion
    exceeds 50 pages, the Chambers copy must be in a separately tabbed binder and
    include a Table of Contents. If such evidence exceeds 200 pages, the Chambers
    copy of such evidence, including a Table of Contents, must be placed in a Slant
    D-Ring binder with each item of evidence separated by a tab divider on the right or
    the bottom. All documents contained in the binder must be three-hole punched with
    the oversized 13/32" hole size, not the standard 9/32" hole size. Failure to comply
    with this requirement may result in the Court striking the motion or declining to
    consider the exhibits.




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    4.     Motions - General Requirements
           a.     Time for Filing and Hearing Motions
        This Court hears civil motions on Mondays, beginning at 1:30 p.m. If Monday is
    a court holiday, motions will be heard on the next Monday. If the motion date
    selected is not available, the Court will issue a minute order continuing the date.
     Opposition papers due on a Monday holiday may be filed the following Tuesday.
     In such cases, reply papers may be filed on the next Tuesday.
        Adherence to the timing requirements is mandatory for Chambers’ preparation of
    motion matters. The parties may stipulate to a different briefing schedule, so long
    as the schedule provides at least two weeks between the filing of the reply and the
    hearing date.
       If the parties are able to resolve the issue, or if a party intends to withdraw
    or declines to oppose a motion, the Court must be notified as soon as possible,
    but no later than seven days before the hearing date. Failure to oppose a
    motion will likely result in the motion being granted immediately after the
    opposition would have been due.
           b.     Pre-filing Requirement
       Counsel must comply with Local Rule 7-3, which requires counsel to engage in
    a pre-filing conference “to discuss thoroughly . . . the substance of the contemplated
    motion and any potential resolution.” Counsel should discuss the issues to a
    sufficient degree that if a motion is still necessary, the briefing may be directed to
    those substantive issues requiring resolution by the Court. The pro per status of
    one or more parties does not eliminate this requirement. Failure to comply
    with this Rule will be grounds for sanctions. If fault is attributed to the moving
    party, the Court may decline to hear the motion.

           c.     Length and Format of Motion Papers
       Memoranda of points and authorities in support of or in opposition to motions
    shall not exceed 25 pages. Replies shall not exceed 12 pages. Only in rare
    instances and for good cause shown will the Court grant an application to extend
    these page limitations.

           d.     Citations to Authority
       Citations to case law must identify not only the case cited, but the specific page
    referenced. When citing to legal databases (which is not encouraged), whenever
    possible cite to Westlaw rather than Lexis.




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       Statutory references should cite to the United States Code and not solely a section
    of a particular act. Citations to treatises, manuals, and other materials should
    include the volume, section, and pages being referenced. If these are not readily
    accessible, copies should be attached. This is especially important for historical
    materials, e.g., older legislative history.
       Citations that support a statement in the main text must be included in the main
    text, not in footnotes.
    5.     Specific Motion Requirements
           a.     Motions Pursuant to Rule 12
        Motions to dismiss are strongly discouraged. Many motions to dismiss or to
    strike can be avoided if the parties confer in good faith (as required under Local
    Rule 7-3), especially for perceived defects in a complaint, answer, or counterclaim
    that could be corrected by amendment. See Chang v. Chen, 80 F.3d 1293, 1296 (9th
    Cir. 1996) (where a motion to dismiss is granted, a district court should provide
    leave to amend unless it is clear that the complaint could not be saved by any
    amendment).
       If the Court grants a motion to dismiss without prejudice to filing an amended
    complaint, the plaintiff shall file an amended complaint within the time period
    specified by the Court. A “redlined” version of the amended complaint shall be
    delivered to Chambers indicating all additions and deletions to the prior version of
    the complaint. Failure to file an amended complaint within the time allotted will
    result in dismissal of the action with prejudice.
           b.     Motions to Amend Pleadings
       The motion must state the effect of the amendment, and must state the page, line
    numbers and wording of any proposed change or addition of material. A “redlined”
    version of the proposed amended complaint shall be delivered to Chambers
    indicating all additions and deletions to the prior version of the complaint. In
    addition to the requirements of the Local Rules, all amended pleadings shall be
    serially numbered to differentiate the amendment from previous amendments.
           c.    Motions for Summary Judgment

       Please refer to Judge Fischer’s Standing Order re Motions for Summary
    Judgment at www.cacd.uscourts.gov.
    6.     Telephonic Hearings

      The Court is unlikely to agree to a telephonic appearance in the absence of
    extraordinary circumstances preventing counsel from appearing in person.




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    7.        Ex Parte Applications (Including Applications for Temporary
              Restraining Orders)
       In addition to the requirements of Local Rule 7-19, the moving party must notify
    the opposition that opposing papers are to be filed no later than 24 hours (or one
    court day) following such service. The Court generally will not rule on any
    application for such relief for at least 24 hours (or one court day) after the party
    subject to the requested order has been served, unless service is excused. If
    opposing counsel does not intend to oppose the ex parte application, counsel must
    advise the courtroom deputy clerk. The Court considers ex parte applications on the
    papers and usually does not set these matters for hearing. The application will not
    be considered until a mandatory chambers copy has been provided. Sanctions may
    be imposed for misuse of ex parte applications.
    8.        Applications or Stipulations For Extension of Time
       No stipulation extending the time to file any required document or to continue
    any date is effective until and unless the Court approves it, or unless the Federal
    Rules of Civil Procedure provide for an automatic extension. Both applications and
    stipulations must set forth:
         1.   The existing due date or hearing date, the discovery cut-off date, the last day
              for hearing motions, the pretrial conference date and trial date;
         2.   Specific reasons (contained in a detailed declaration) supporting good cause
              for granting the extension or continuance. (A statement that an extension
              “will promote settlement” is insufficient. The requesting party or parties
              must indicate the status of ongoing settlement negotiations. The possibility
              of settlement ordinarily will not be grounds for continuance.);
         3.   Whether there have been prior requests for extensions, and whether
              these requests were granted or denied by the Court; and
         4.   A description of the diligence of the party seeking the continuance and any
              prejudice that may result if the continuance is denied.
       The request must be made before the date to be continued. The Court grants
    continuances only on a showing of good cause. Failure to comply with the Local
    Rules and this Order will result in rejection of the request without further notice to
    the parties.
    9.        Cases Removed From State Court
       If a motion was pending in state court before the case was removed, it must be
    re-noticed in accordance with Local Rule 7. If a removed action contains a “form
    pleading” i.e. a pleading in which boxes are checked, the party or parties that filed




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    the form pleading must file an appropriate pleading with this Court within 30 days
    of receipt of the notice of removal.
    10.    Status of Fictitiously Named Defendants
      This Court adheres to the following procedures when a matter is removed to this
    Court on diversity grounds with fictitiously named defendants referred to in the
    complaint. See 28 U.S.C. §§ 1441(a) and 1447.
      1.   Plaintiff shall ascertain the identity of and serve any fictitiously named
           defendants before the date of the Rule 16(b) scheduling conference.
           The Court generally will dismiss Doe defendants on the date of the
           scheduling conference, as they prevent the Court from accurately tracking
           its cases.
      2.   If plaintiff believes (by reason of the necessity for discovery or otherwise)
           that all fictitiously named defendants cannot be identified within that period,
           a request to extend the time must be made in the Joint Rule 26 Report.
           Counsel should be prepared to state the reasons why fictitiously named
           defendants have not been identified and served.
      3.   If a plaintiff wants to substitute a defendant for one of the fictitiously named
           defendants, plaintiff shall first seek the consent of counsel for all defendants
           (and counsel for the fictitiously named party, if that party has separate
           counsel). If consent is withheld or denied, plaintiff should file a motion on
           regular notice. The motion and opposition should address whether the matter
           should thereafter be remanded to the superior court if diversity of citizenship
           is destroyed by the addition of the newly substituted party. See 28 U.S.C.
           § 1447(c) and (e).
    11.    ERISA Cases Concerning Benefit Claims

       The Court will hear motions to determine the standard of review, whether
    discovery will be permitted, and the scope of the administrative record. There will
    be a court trial (usually confined to oral argument) on the administrative record.
     Counsel are discouraged from filing motions for summary judgment or partial
    summary judgment on any other issue. If they choose to do so, they must
    distinguish Kearney v. Standard Insurance Co., 175 F.3d 1084, 1095 (9th Cir. 1999)
    in the moving papers and explain why summary judgment is not precluded.
    12.    Communications with Chambers
       Counsel shall not attempt to contact the Court or its Chambers staff by telephone
    or by any other ex parte means. Counsel may contact the courtroom deputy clerk
    with appropriate inquiries. To facilitate communication with the courtroom
    deputy




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    clerk, counsel should list their e-mail addresses along with their telephone numbers
    on all papers.
    13.    Parties Appearing in Propria Persona
      Pro per litigants are required to comply with all local rules, including Local Rule
    16. In this Order, the term “counsel” includes parties appearing in propria persona.
     Only individuals may represent themselves.
    14.    “Notice of Unavailability”
       While the Court expects that counsel will conduct themselves appropriately and
    will not deliberately schedule Court or other proceedings when opposing counsel
    are unavailable, a “Notice of Unavailability” has no force or effect in this Court.
    Such documents should not be filed.



    CAVEAT: If counsel fail to file the required Joint Rule 26(f) Report, or the
    required pretrial documents, or if counsel fail to appear at the scheduling
    conference, the pretrial conference, or any other proceeding scheduled by the
    Court, and such failure is not satisfactorily explained to the Court: (1) the
    cause shall be dismissed for failure to prosecute, if such failure occurs on the
    part of the plaintiff, (2) default (and thereafter default judgment) shall be
    entered if such failure occurs on the part of the defendant, or (3) the Court
    may take such action as it deems appropriate.


      IT IS SO ORDERED.




 Date: June 24, 2020
                                               Dale S. Fischer
                                               United States District Judge




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